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          May 13, 2022

          VIA ECF

          Honorable Analisa Torres
          United States District Court
          Southern District of New York
          500 Pearl Street
          New York, New York 10007

                 Re: In re Search Warrant dated November 5, 2021,
                         Case No. 21-MC-00813 (AT)

          Dear Judge Torres,

          The ACLU writes to express its support for the Objections filed by
          Intervenor Reporters Committee for Freedom of the Press (“Reporters
          Committee”) in response to Magistrate Judge Cave’s Opinion and Order
          of December 7, 2021, ECF No. 47 (“Order”), declining to unseal the
          search warrant application, supporting affidavit, return, or any other
          related judicial documents filed in connection with the November 5,
          2021 search warrant executed at the residence of James O’Keefe,
          founder of Project Veritas, on or about November 6, 2021 (collectively,
          the “Search Warrant Materials”). The ACLU also supports the Reporters
          Committee’s request, in the alternative, that the Order be modified to
          require the Government to move to unseal the Search Warrant Materials
          immediately upon the conclusion of its investigation and to keep the
          Court apprised of the status of its investigation in the interim.

          As Judge Cave correctly determined, the Search Warrant Materials are
          judicial documents subject to a strong presumption of public access
          under the common law. Order at 9. Judge Cave concluded, however,
          that the government’s asserted interest in protecting the integrity of an
          ongoing grand jury investigation, as well as its asserted interest in
          protect the privacy of uncharged individuals named in the Search
          Warrant Materials, outweigh the public’s interest in accessing much of
          the information contained therein. Order at 16–17. Judge Cave also
          ruled that the nature and extent of redactions necessary to omit the
          protected information would render the Search Warrant Materials
          “unintelligible” and “more likely to mislead than to inform the public.”
          Order at 18.

          A significant amount of new information about the government’s
          investigation has become public since Judge Cave issued her Order. On
          December 17, 2021, The New York Times published an extensive
          account of the basis for the government’s investigation, including the
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          identities of several individuals involved in the investigation. Michael
          S. Schmidt & Adam Goldman, Tracking How Project Veritas Obtained
          Diary of Biden’s Daughter, N.Y. Times, Dec. 17, 2021, at A1, available
          at https://nyti.ms/3rZSetJ. The Times’ reporting was informed by
          “[e]xtensive interviews with people involved in or briefed on the
          investigation and a review of court filings, police records and other
          material.” Id. On March 21, 2022, the Times published a lengthy follow-
          up article, with new information “[d]rawn from interviews, court filings
          and other documents,” that “further fleshed out” its account of the facts
          behind the investigation and identified other involved individuals.
          Michael S. Schmidt & Adam Goldman, Tracking Route of Biden Diary
          to Provocateur, N.Y. Times., Mar. 21, 2022, at A1, available at
          https://nyti.ms/37MzDuy. And, on March 22, 20222, redacted copies of
          several electronic surveillance orders against Project Veritas were
          publicly disclosed in filings before this Court. See Letter Motion of
          March 22, 2022, ECF. No. 64, and attached exhibits; see also Michael
          S. Schmidt & Adam Goldman, Project Veritas Claims the Justice
          Department Secretly Seized Its Emails, N.Y. Times, Mar. 23, 2022, at
          A16, available at https://nyti.ms/3rZ0rhU.

          The Reporters Committee’s Motion to Unseal must be considered in
          light of these disclosures. “The strong presumption of public access
          forces district courts to be cognizant of when the reasons supporting
          sealing in a specific case (if any are found) have either passed or
          weakened, and to be prepared at that time to unseal [documents] and
          allow public access. Even if a sealing order was proper at the time when
          it was initially imposed, the sealing order must be lifted at the earliest
          possible moment when the reasons for sealing no longer obtain.” In re
          Cendant Corp., 260 F.3d 183, 196 (3d Cir. 2001).

          Even if Judge Cave’s Order were correct when it was issued, the light
          subsequently shed on the government’s investigation may have
          diminished the need for continued secrecy with respect to substantial
          portions of the Search Warrant Materials, making redaction more
          feasible than it might have appeared previously. If it is feasible to unseal
          the Search Warrant Materials with appropriate redactions, then that is
          what this Court should do. See United States v. All Funds on Deposit at
          Wells Fargo Bank, 643 F. Supp. 2d 577, 585 (S.D.N.Y. 2009) (“To the
          extent that compelling reasons exist to deny public access to the subject
          affidavits, the limitation should not be broader than necessary.”
          (collecting cases)).

          The ACLU respectfully submits that this Court should reassess whether
          blanket sealing of the Search Warrant Materials is still justified given
          the amount of public information now available about the government’s
          investigation. We appreciate the Court’s attention to this matter.
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                                           Respectfully submitted,


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         CC: All Counsel of Record (ECF)
